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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


WILLIAM SHARROCK,                       :
      Plaintiff,                        :
                                        :
      v.                                :      CIVIL ACTION NO. 23-CV-4314
                                        :
PORTFOLIO RECOVERY                      :
ASSOCIATES, LLC,                        :
      Defendant.                        :


                                        ORDER

      AND NOW, this 18th day of December, 2023, upon consideration of Plaintiff

William Sharrock’s Motion To Proceed In Forma Pauperis (ECF No. 1), and Complaint (ECF

No. 2) it is ORDERED as follows:

      1.      Mr. Sharrock’s Motion To Proceed In Forma Pauperis (ECF No. 1) is

GRANTED; in forma pauperis is GRANTED pursuant to 28 U.S.C. § 1915.

      2.      The Complaint is DEEMED filed;

      3.      The Complaint is DISMISSED WITHOUT PREJUDICE for the reasons stated

in the Court’s Memorandum;

      4.      On or before January 12, 2024, Mr. Sharrock may file an amended complaint.

Any amended complaint must identify all defendants in the caption of the amended

complaint in addition to identifying them in the body of the amended complaint and shall

state the basis for Sharrock’s claims against each defendant. The amended complaint
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shall be a complete document that does not rely on the initial Complaint or other papers

filed in this case to state a claim. When drafting his amended complaint, Mr. Sharrock

must mind the reasons I gave for dismissing the claims in his initial Complaint. Upon the

filing of an amended complaint, the Clerk shall not make service until I so order;

       5.      The Clerk of Court shall send Mr. Sharrock a blank copy of this Court’s

current standard form to be used by a self-represented litigant filing a civil action bearing

the above-captioned civil action number. Mr. Sharrock may use this form to file his

amended complaint if he chooses to do so.

       6.      If Mr. Sharrock does not wish to amend his Complaint and instead intends

to stand on his Complaint as originally pled, then on or before January 12, 2024, he may

file a notice with the Court stating that intent, at which time I will issue a final order

dismissing the case. Any such notice should be titled “Notice to Stand on Complaint,”

and shall include the civil action number for this case;

       7.      If Mr. Sharrock fails to file any response to this Order, I will conclude that

Sharrock intends to stand on his Complaint and issue a final order dismissing this case.

                                           BY THE COURT:


                                           /s/ Joshua D. Wolson
                                           JOSHUA D. WOLSON, J.




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